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Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 _Page 1 of 14 Page |D #

G. Thornas Martin, III, Esq. (SBN 218456)

 

 
    

 

PRICE LAW GROUP, APC
15760 V@ntura Blvd., Suite 1 100 w \_ .“_.____…i,
Ericino, CA 91436 " F;W '
T: (818) '907-203{); F: (818) 205-2730 u-S- mmm°QUF-'T
torn priceiawgroup.com

@ JUN arizona
Attomeys for Plaintiff
NIEVES MEZA game/ti oiarazct err ca,z_ir§re§?_s!gé

 

UNITE}) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFGRNIA

WESTERN DIVISION
ii S\/W maj

Plaintiff`, COMPLA!NT AND I)EMAND FOR
JURY 'I`RIAL

   

NIEVES MEZA, an individual,

vs.
(Unlavvfu} Debt Collection Practiees)

VEROS CREDIT, LLC., a limited liability
corporation; and DOES 1 to 10, inclusive,

 

 

Defendants.
Q_Q_M...I.I,L..:A_I_NI.
I. INTRODUCTION
I. Nieves Meza (hereinafter referred to as “Piaintiff”), an individual consumer,

brings this action to secure redress from uniawful credit collections practices engaged in by
Veros Credit, LLC (hereinafter referred to as “Veros” and/or “Deferidant”). Plaintiff alleges
violations ofthe Rosenthal Fair Debt Collection Practices Act, Califomia Civil Code § 1788 et
ch. (hereinafter referred to as “RFDCPA”); violations of the Telephone Consumer Protection
Act, 47 U.S.C. § 227 (hereinat`ter referred to as “TCPA”); and violations of the California Penal

code §632.

 

 

 

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II. JURISDICTION

2. Jurisdiction of this court arises under 15 U.S.C. § l692k(d) Which states that such
actions may be brought and heard before “any appropriate United States district court without
regard to the amount in oontroversy.” Declaratory relief is available pursuant to 28 U.S.C. §§
2201 and 2202.

3. Defendant conducts business in the State of Calit`ornia and therefore, personal
jurisdiction is established

4. Venue in this District is proper pursuant to 28 U.S.C. § l39l(b)(2) in that the
Defendant transacts business here.

III. PAR TIES

5. Nieves Meza (Plaintiff) is an individual', residing in Little Rock, Los Angeles
County, California 93 543.

6. Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consnrner” as
defined by 15 U.S.C § 1692a(3).

7. Plaintiff is a natural person from whom a debt collector sought to collect a
consumer debt which was due and owing or alleged to be due and owing from Plaintit`f, and is a
“debtor” as that terms is defined by Cal. Civ. Code § 1788.2(11). -

S. Veros Credit, LLC (Defendant) is a limited liability company, registered under
the laws of the State of Nevada, With its principal place of business located at: 311 S. Division
Street, Carson City, NV 89703. Det`endant’s Nevada business -ID is NV21)101572736.
Defendants registered agent for service of process is Marla Merhab Robinson, 1551 N. Tustin

Ave, Suite 910, Santa Ana, CA 92705.

 

 

 

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9. Defendant, in the ordinary course of business, regularly engages in debt
collection as that term is defined by Cal Civ. Code l788.2(b), is therefore a debt collector as
that terms is defined by Cal Civ. Code §l788.2(c).

10. This case involves money, property or their equivalent, due or owing or alleged
to be due or owing form a natural person by reason of a consumer credit transaction As such,
this action arises out of a consumer debt and “consurner credit” as those terms are defined by
Cal Civ. Code §l788.2(t`).

ll. The true names and capacities, whether individual, corporate, or in any other
form, of Defendants DOES 1 through l{), inclusive, and each of them, are unknown to Plaintiff,
Who therefore sues them by such fictitious names Plaintiff will seek leave to amend this
Cornplaint to show the true names and capacities ot` DOES 1 through 10 should they be
discovered

IV. FACTUAL ALLEGA TIONS

12. At all times relevant to this matter, Plaintit`f was an individual residing Within the
State of California.

13. At all times relevant, Defendant conducted business within the State of
California.

14. Sornetirne before December 18, 2012, Plaintift` is alleged to have incurred certain
financial obligations

15. 'l`hese financial obligations were primarily for personal, family or household
purposes and are therefore a “consurner debt,” as that terms is defined by Cal. Civ. Code §

irss.z(n.

 

 

 

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16. Sornetime thereafter, but before Decernber 18, 2012, Plaintiff allegedly fell
behind in the payments allegedly owed on the alleged debt. Plaintiff currently takes no position
as to the validity of this alleged debt.

17. On or about Becember 18, 2012 and within one (1) year prior to the filing of this
action, Defendant made a call to Plaintift’ s cellular telephone number, (661) 346-8753. "l`his
telephone call was a “communication” as 15 U.S.C. § 1692a(2) defines that tenn, and a “debt
collection” as that phrase is defined by Cal. Civ. Code § l788.2(b).

18. Defendant left a message on Plaintiff’ s cellular phone using an artificial
prerecorded voice or using equipment which has the capacity to store or produce telephone
numbers to be called, using random or sequential number generator and to dial such numbers,
also known as an “automatic telephone dialing system” as defined by TCPA 47 U.S.C. §
227(a)(1)(A) and (B).

19. ln this message, the collector did not meaningfully identify itself as a debt
collector and therefore failed to meaningfully disclose its identity to the Plaintiff. ”l`he collector
also did not give the statutorily mandated disclosure required under 15 U.S.C. 1692e(l l).

20. Defendant engaged in false and deceptive means by failing to identify itself as a
debt collector in its communications with Plaintiff.

21. Upon information and belief, `Defendant did not receive Plaintiff’ s express
consent before using an artificial prerecorded voice or an automatic telephone dialing system to
contact Plaintiff.

22. Upon information and belief, Defendant did not have an emergency purpose for
contacting Plaintiff using an artificial prerecorded voice or an automatic telephone dialing

system

 

 

 

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Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 _Page 5 of 14 Page |D #:

23. Defendant willfully or knowingly violated the TCPA.

24. On or about December 18, 20l2 and within one (l) year prior to the filing of this
action, Defendant telephoned plaintiff a second time and demanded payment of the alleged debt.
’l`he collector also threatened to repossess the Plaintiff’s vehicle if the debt Was not paid. This
telephone call was a “cornrnunication” as 15 U.S.C. § 1692a(2) defines that term, and a “debt
collection” as that phrase is defined by Cal. Civ. Code § l788.2(l:)).

25. During this communication Defendant failed to warn l’laintiff her telephone call
was being recorded or to obtain her consent to do so.

26. California Penal Code § 632 prohibits unauthorized tape recording without the
consent of the other person to the conversation Section 632 provides a civil remedy against any
person who “intentionally and without the consent of all parties to a confidential communication,
by means of electronic amplifying or recording device, eavesdrops upon or records the
confidential communication.” Cal. Penal Code §§ 632(a), 637.2. lt is a violation of this section
to “record[] the conversation Without first informing all parties to the conversation that the
conversation is being recorded.” Kearnev v. Salomon Srnith Barnev, Inc., 39 Cai. 4th 95, 118
(2006).

27. Here, Def`endant did not inform Plaintiff at the outset of the call that the
conversation was being recorded l)efendant knew that such conversations were being
monitored or recorded and knew Plaintiff` did not know of such activity

28. Plaintiff` believes and alleges, that the defendant recorded the conversation using
an electronic amplifying or recording device prohibited by California Penal Code § 632(a).

29. The natural and probable consequences of Def`endant’s conduct amount to a false

representation or deceptive means to collect a debt or obtain information about a consumer.

 

 

 

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Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 _Page 6 of 14 Page |D #i:

30. The natural and probable consequences of Defendant’s conduct is to harass, oppress,
or abuse Plaintiff.
31. As a result of the acts alleged above, Plaintiff suffered emotional distress
32. Defendant’s illegal and abusive collection communications as described above
Were the direct and proximate cause of severe emotional distress on the part of Plaintiff.
V. FIRST CLAIM FOR RELIEF
(Violation of the Rosenthal Fair I)ebt Coliection Practices Act,
Cal. Civ. Code § 1788 et seq)
33. Plaintifl` incorporates herein by reference paragraphs 1 through 32, inclusive, as
though set forth in full herein
34. Defendant violated the R§FDCPA. Defendant’s violations include, but are not
limited to, the foilowing:
(a) Defendant violated Civ. Code § 1788.1 l(b) of the RFDCPA by leaving a message on
the Plaintiff’ s cellular phone and not disclosing its identity
(b) Defendant'violated Cal. Civ. Code §1788.17 of the RFDCPA by failing to comply
With §1692 et seq. of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.,
as noted below:

i. Defendant violated §1692d of the FDCPA by engaging in conduct the
natural consequence of Which is to harass, oppress, or abuse any person in
connection With the collection of an alleged debt; and

ii. Defendant violated §1692d(6) of the FDCPA by placing a call to the

Plaintift’ s cellular phone Without disclosing its identity; and

 

 

 

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iii. Defendant violated §.] 692:2 of the FDCPA by using false, deceptive, or
misleading representation or means in connection with the collection cf
the alleged debt; and

iv. Defendant violated §1692€(] O) of the FDCPA by using false
representation or deceptive means to collect a debt or obtain information
about a consumer; and

v. Defendant violated § 1692e(1 l) of the FDCPA by communicating with the
Plaintiff Without providing the “inini-Miranda” Warning; and

vi. Defendant violated §1692fof the FDCPA by using unfair or
unconscionable means in connection With the collection of an alleged
debt.

35. Defendant’s acts as described above Were done intentionally With the purpose of
coercing Plaintiff to pay the alleged debt.

36. As a result cf the foregoing violations of the RFDCPA, Defendant is liable to

`Plaintiff for declaratory judgment that Defendant’s conduct violated the RPDCPA, actual

damages, statutory damages, and costs and attorney fees.

VI. SECOND CLAIM FOR RELIEF
(Vioiaticn of the Telephone Consumer Protection Act, 47 U.S.C. § 227)

37. Plaintiff incorporates herein by reference paragraphs l through 36, inclusive, as
though set forth in full herein.
38._ Defendant violated the TCPA. Defendant’s violations include, but are not limited

to, the following:

 

 

 

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Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 8 of 14 Page |D #:.

(a) Defendant violated § 22 7(1)) (l) (B) by calling Plaintiff using an automatic telephone
dialing system or an artificial prerecorded voice to Plaintift’s residential telephone
line, without her express consent

39. As a result of the foregoing violations ofthe TCPA, Defeudant is liable to

Plaintiff for declaratory judgment that Defendant violated the TCPA, actual damages pursuant to
47 U.S.C. § 227, statutory damages in an amount up to live hundred dollars ($500.00) for each
violation of the TCPA pursuant to 47 U.S.C. § 22'7, and treble damages pursuant to 47 U.S.C. §
227.

VII. TIIIRD CLAIM FOR RELIEF
(Violation cf the California Penal Code § 632)

40. Plaintiff incorporates herein by reference paragraphs l through 39, inclusive, as
though set forth in full herein

41. Defendant intentionally monitored or recorded confidential matters between
Plaintiff and l)efendant, without the consent of Plaintiff, who was a party to the call.

42. ’l`his conduct by Defendant violated section 632 of the Califcrnia Penal Code.

43. Section 637.2 of the California Penal Code section provides a civil remedy to

Plaintiff based upon Defendant’s violation

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Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 9 of 14 Page |D #

Del`endant for the following:

action
RESPECTFULLY SUBMl"ITED,
PRICE LAW G !,UP APC
l)ated: June 26, 2013 By:

VIII. PRA YER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Declaratory judgment that Defendant has violated the RFDCPA, TCPA, and California

Penal Code; and

Injunctive relief prohibiting Defendant from initiating further telephone calls to Plaintiff

in violation of the regulations prescribed under the TCPA; and

Actual damages; and

Statutory damages pursuant to 15 U.S.C. § 16921<;; and

Trebled statutory damages pursuant to 47 U.S.C. § 227(0)(5); and

Costs and reasonable attorney fees pursuant to 15 U.S.C. § 16921<;

An amount of $5,000 for each violation of section 632 of the California Penal Code, or

three times the amount of any actual damages sustained by plaintiff, whichever is greater

Awarding Plaintiff any pre-judgment and postjudgment interest as may be allowed under

the law;

For such other and further relief as the Court may deem just and proper.
DEMAND FOR JURY TRIAL

PLEASE TAKE NOTICE that Plaintiff, Nieves Meza, demands a trial by jury in this

 

 

G. Thomas Marttn, 111
Attomeyfor Plafntijj‘

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COMPLAINT AND DEMAND FOR JURY 'l`RlAL
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Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 10 of 14 Page |D #:12

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT T() UNITED S'I`ATES MAGISTRA'I`E JU])GE FOR DISCOVERY

This case has been assigned to District Judge Steplien V. Wilson and the assigned
discovery Magistrate ludge is Stephen J. Hillrnan.

The case number on all documents filed with the Court should read as follows:

CV13- 4682 SVW (SHX)

l’ursuant to General Order 05~07 of the United States i)istrict Court for the Central
District of California, the l\/lagistrate ludge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate ludge

NOT|CE 'i'O COU NSEL

A copy of this notice must he served with the summons and complaint on all defendants (if a removal action is
fr'led, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be died at the following |ocaticn:

[A/Western Division [_] Southern Bivision {__] Eastern Division
312 N. Spring St., Rm. G-B 411 West Fourth St., Rm. 1-053 3470 Twetfth St., Rm. 134
Los Angeles, CA 900‘! 2 Santa Ana, CA 9270'¥-45'|6 Riverside, CA 92501

Fatlure to file at the proper location will resutt in your documents being returned to you.

 

CV~'lS (03/06) NO?lCE OF" ASSlGNMENT TO UN|TED STATES N|AGlSTRA`E`E JUDGE FOR DISCOVERY

Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 11 of 14 Page |D #:13

AO 440 (Rev. Z2/09) Summous in a Civ§l Action

 

UN:TED STATES DISTRICT COURT

for the
Central District of Califomia

d § gm ii ?;SvslsM

NlEVES MEZA, en individual,

 

Plainti}_l'f

V. Civil Action No.

VEROS CRED|T, l.LC,, a limited |iabiiity corporation;
and DOES 1 to 10, inclusive,

 

v\»/\_/\./\._/\.../\»/

Defendant

SUMMONS IN A CI"VIL ACTION

TO: (Defendant’.s' name and address) VEROS CRED{T, l_LC.
311 S. Div§sion Street
Carson C`lty, NV 89703

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United S'cates or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(?) or (3) -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomcy,
Whose name and address ar€: G. Thomas Martin, ll!, L-'.sq. (SBN 218456)

PR|CE LAW GROUP, APC

15760 Venture Blvd., Suite 1100
Enclno, CA 914§6

T: (818) 907~2030";' F: (aee) 397-2030
tom@pfgla'vvl'\rm.com

If` you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

JUN 27 2013 CLERKOFCOU T

Date:

 

SignaWr Deputy C!erk

Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 12 of 14 Page |D #:14

AO 440 (Rev. i2/09} Summons in a Civii fiction (Page 2)
Civil Action No.

PROOF OF SERVICE
(leis section should not bejiled with the court unless required by Fed. R. Civ. P. 4 (l))

This Summ(ms for (name ofindividual and title grany)

 

was received by me on (da:e)

ii I personally served the summons on the individual at golace)

 

on (da!e) ; or

 

C] I left the summons at the individuals residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (daze) , and maiied a copy to the iudividual’s last known address; or

l:l I served the summons on (name ofindiv!dual) , who is

 

designated by law to accept service of process on behait` of (name aforganizazion)

 

 

 

on (date) ; or
§§ l returned the summons unexecuted because ; or
|j ther (speci)j)):
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Frimea‘ name and title

 

Sei'var 's address

Additionai information regarding attempted service, etc:

Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 13 of 14 Page |D #:15

UNITEI) STATES DISTRIC'I` COUR'I`, CENTRAL DIS'I`RICT OF CALIFORNIA
CIVIL COVER SHEET

 

l (a] PLAIN'I`IFFS (Checi~c box if you are representing yourself U)
NIEVES M`EZA, an individual,

DEFENDAN'I`S

VEROS CREDIT, E.LC., a limited liability corporation; and DOES t to 10,
luciusive,

 

{b) An'omeys {Firm Name, Address and Tetephone Number. lf` you are representing

yourself, provide samc.)

G. Thomas Martin, Iii {SBN 213456)
PRICE LAW GROUP, APC
15760 Ventura Blvd., Suite 1100, Encino, CA 91436

 

Attorneys (fi Known)

 

II. BAS!S OF JURISDICTION (Placc an X iu one box only.)

111 1 U.S. Government Piaintit`f

l:i 2 U,S. Government Dei`endant

s1 3 Fudura: Quusciuh (u.s,
Govemment Not a Party)

of Parties in item ZIE)

Cl 4 Diversity (Ind§cate Citizenship

 

Hl. CITEZENSHIP OF PRENCIPAL PARTIES ~ i"or Diversity Cases Only
(Place an X in one box for piaintii`fand one for defendant.)

PTF
Citizen of This State l;| l
Citizcn ofAnother State ij 2

Citizea or Subject of a Foreign Country |`_'1 3 il 3

DEF PTF DEF

113 § incorporated or i’rincipal P]ace 113 4 il 4
of Business in this State

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of Busincss in Another State
Foreign Nation D 6 13 6

 

lV. ORIGIN {Piace an X in one box oniy.)

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Proceeding

Appellate Court

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State Courz

Reopened

l;| 5 Transi`erred from another district (specify):

ij 6 Multi- 111 7 Appeal to District
District ludge from
Litigation Magistrate fudge

 

V. REQUESTED lN CGMPLAENT: JURY DEMAND: l¥(Yes 111 No (Check ‘Yes‘ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23:

D ch [S{No

MMONEY nemuosn IN commier s according 10 Pr<><>f

 

VI. CAUSE OF AC'£`ION (Cite the U.S. Civii Statute under which you are filing and write a brief statement ot`cause. Do not cite jurisdictional statutes untess diversity.)
47 U. S. C. § 227 et seq. Violations ofthe Telephone Consumer Protection Act

VH. NATURE OF SU]'I' (Place an X 111 one box only. )

 

 

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Actions
FOR OFFECE USE ONLY: Case Number:

 

AFTER COMPLE'I`ING THE FRONT SIDE OF FORM CV-'i'i, COi\/H’LETE 'I`I“IE fNFORMAT!ON REQUESTED BELOW.

 

CV»'F§ (05/08}

C[VIL COVER SHEET

Page l of 2

Case 2:13-cv-O4682-SVW-SH Document 1 Filed 06/27/13 Page 14 01 14 Page |D #:16

UNITED STA'I`ES DISTRICT COURT, CENTRAL DIS'I`RIC'I` ()F CALIFORNIA
CIVIL COVER SHEET

VlIl(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? |B/No 13 Yes
It` yes, list case number(s):

 

ViII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present csse? 1!{No 111 Yes
Ifyes, list case number(s):

 

Civil cases are deemed related if a previously Rled case and the present case:
(Checlc all boxes that apply) 111 A. An`se from the same or closely related transactions happenings or events; or
LB B. Call for determination of the same or substantially related or similar questions of law and fact; or
lIJ C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or
13 D. Involve the same patent, trademark or copylight, end one of the factors identified above in a, b or o also is present

 

IX. VENUE: {When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District', California County outside of this Distriot; State if other than Caiifomia', or Foreign Country, in which EACH named plaintiff resides
111 Checlc here if the government its agencies or employees is a named plaintiff If this box is checked go to item (b}.

 

County in this Distr:'ct:* Califomie County outside of this Disln'ct; State, if other than Calif'ornia; or I"orel'gn Couriiry
Los Angeies

 

 

 

 

 

{b) i.ist the Courlty in this District; Cali§`ornia Courlty outside of this District; State ii` other than Calif`omie; or Foreign Courltry, in which EACH named defendant resides
1`_”| Check here if the government its agencies or employees is a named defendant Ii`t§lis box is cheeked, go to item (c).

 

Collllty irl this District:* Calii`omia County outside of this District', State, if other than Calii`ornia', or Foreign Coi:ntly
Nevacla

 

 

(c) List the Coonty in this District; Caiit`omia County outside of this i)istrict; Staie if other than Calit`omia; or Foreign Countly, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract ol' land involvcd.

 

County in this District:* Cal§fornia Couniy outside of this Distiict; State, if other than Caiit"omia; or Foreign Counlry
Los Angeles

 

 

 

 

 

 

  

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Notice to Counsclfi’arties: "i"he CV-?l (18-44) Civil Cover Slieet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This fonn, approved by the indicial Coni`crence ofthe Unitecl States in September 1914, is required pursuant to Locai Rule 3-1 is not filed
but is used by the Clerk ofzhe Court fertile purpose ofstaiistics, venue and initiating the civil docket sheet {For more detailed instructions see separate instructions sheei.)

 

 

 

X. SIGNA'I`URE OF A'I`TORNEY {OR PRO ?ER): sw

 

 

Key to Stntistical codes relating to Social Security Cascs.'

Natu re ofSuit Code Abl)reviation Substantive Stetemelit of Cause ofAction

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing f`aoilities, etc., for certification as providers of services under the
program (42 U.S,C. l935FF{b))

862 BL All claims for “Blaek Lung" benefits under Title 4, Part B, of the Federal Coal Mine ilea|th and Safety Act of 1969.
(30 U.S.C. 923)

363 DEWC All claims illed by insured workers for disability insurance benefits under Titlc 2 of the Social Securiry Act, as
amendcd; plus all claims filed for child’s insurance benefits based on disability (¢12 U.S.C. 405{g))

863 Dl'WW All claims filed for widows or wldowers insurance benefits based on disability under 'i”itle 2 ofthe Social Security
Act, as amended (42 U.S.C. 405(3})

864 SSID All claims for supplemental security income payments based upon disability filed under Titlc 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old agc} and survivors benefits under ”I'itle 2 of the Social Security Act, as amended (42
U.S.C. (e)}

 

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